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                         IN THE UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION


   UMG RECORDINGS, INC., et al.,


           Plaintiffs,
                                                          Case No. 8:19-cv-710-MSS-TGW
   v.

   BRIGHT HOUSE NETWORKS, LLC,

           Defendant.


        DEFENDANT BRIGHT HOUSE NETWORKS, LLC’S MOTION TO COMPEL
                 DISCOVERY AND MEMORANDUM IN SUPPORT
   I.      INTRODUCTION

           Plaintiffs filed this action against defendant Bright House Networks, LLC

   (“BHN”) claiming secondary liability for copyright infringement based on allegations

   that BHN subscribers used its internet access service to infringe over 7,500 musical

   works that Plaintiffs claim to own. Despite Plaintiffs seeking upwards of a billion dollars

   in statutory damages, they have stonewalled even basic categories of discovery.

           BHN now seeks to compel the following four key categories of documents:

           •        Copies of the underlying works claimed by Plaintiffs to be infringed

   (“works-in-suit”); a fundamental part of discovery for any copyright case to enable

   defendant to compare the allegedly infringed works with the alleged infringements.

           •        Basic financial information including documents regarding profits and

   revenues for the works-in-suit, and the agreements relevant to those calculations. This
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   information is highly relevant even if Plaintiffs ultimately elect statutory over actual

   damages because it allows the jury to value each work so that any statutory damages are

   “just”—a jury’s charge in a copyright case.

          •       Information concerning the Copyright Alert System (“CAS”), an inter-

   industry agreement signed by Plaintiffs and that sets forth what Plaintiffs understood to

   be reasonable for how ISPs like BHN should respond to allegations of infringement.

          •       Basic ownership documents for the works-in-suit, including chain of title

   information, documents regarding disputes/challenges to ownership, and work-for-hire

   agreements—routine and key discovery in copyright cases that allows a defendant the

   opportunity to rebut the presumption of ownership afforded by a copyright registration.

   II.    FACTUAL BACKGROUND

          BHN served its first discovery requests on June 25, 2019 and Plaintiffs served

   their responses on July 25, 2019. (Ranahan Decl., Exs. 1-4). On August 27, 2019,

   BHN’s counsel sent Plaintiffs’ counsel a letter regarding deficiencies in the responses.

   (Id. at Ex. 5). The parties met and conferred in person in an effort to narrow the issues.

   (Ranahan Decl. ¶¶ 4-23). Plaintiffs, however, stood on their objections, necessitating this

   motion. Id.

   III.   LEGAL STANDARD

          Parties may seek discovery on “any nonprivileged matter that is relevant to any

   party’s claim or defense and proportional to the needs of the case...” Fed. R. Civ. P.

   26(b)(1). When objecting to a discovery request, the “[p]arties are not permitted to assert

   . . . conclusory, boilerplate objections.” Martin v. Zale Delaware, Inc., No. 8:08-CV-47-


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   T-27EAJ, 2008 WL 5255555, at *1 (M.D. Fla. Dec. 15, 2008). After the party seeking to

   compel discharges its “initial burden of proving that the information sought is relevant,”

   the burden shifts to the party resisting the motion to compel to show their objections are

   valid. Johnson, 2017 WL 8948379, at *1–2; Benavides v. Velocity IQ, Inc., No. 8:05-

   CV-1536-T-30, 2006 WL 680656, at *2 (M.D. Fla. Mar. 15, 2006).

   IV.    LEGAL ARGUMENT

          A. BHN Is Entitled to Copies of the Works-In-Suit

          BHN requested digital copies of the works-in-suit in Requests for Production

   (“RFP”) 2. The complete request, objections, and response follows:

   REQUEST NO. 2: Full digital copies of all Copyright Works, including any and all
   versions of each Copyright Work You claim has been infringed, and any version
   submitted to the United States Copyright Office of the Library of Congress.
   OBJECTIONS: Plaintiffs object to this request as premature because it seeks digital
   copies of “all Copyright Works,” and Plaintiffs do not yet know the full scope of BHN’s
   infringement of Plaintiffs’ copyrighted works. A more complete picture of BHN’s
   infringement will be developed and determined during discovery. Accordingly, Plaintiffs
   reserve the right to rely upon and/or assert in this litigation any of their copyrighted
   works infringed by BHN. Plaintiffs also object to this request because it is vague and
   ambiguous, including in that it is unclear whether BHN is requesting that Plaintiffs
   produce authorized, non-infringing copies of the relevant copyrighted works or the
   unauthorized, infringing copies, and it is unclear to what “all versions of the Copyright
   Works” refers. Additionally, Plaintiffs object because the request is not proportional to
   the needs of the case. Whether in full digital form or otherwise, Plaintiffs are aware of no
   legitimate need BHN could have for authorized, non-infringing copies of all copyrighted
   works in suit, or for all versions of the copyrighted works in suit, including versions
   submitted to the United States Copyright Office of the Library of Congress. As such, the
   burden and expense of the proposed discovery outweighs any likely benefit. To the extent
   a legitimate need exists, the copyrighted works in suit are commercially available to the
   public.
   RESPONSE: Subject to the foregoing objections, Plaintiffs will produce digital copies of
   a sample of the copyrighted works in suit.

          During the meet and confer, BHN’s counsel explained that BHN seeks copies of


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   the works-in-suit to compare with the alleged infringements. (Ranahan Decl. ¶¶ 8-9).

   Plaintiffs’ counsel offered to produce only a self-selected, undefined “sample” of works,

   directing BHN’s counsel to purchase the remaining works from “iTunes.” (Ranahan

   Decl., Ex. 4). When BHN’s counsel sought to clarify what the proposed “sample” would

   entail, how it would be chosen, and how many of the works-in-suit it would include,

   Plaintiffs’ counsel provided no specifics. (Ranahan Decl., Ex. 6) (“[I]n any case, the

   works-in-suit are commercially available.”)). Plaintiffs stated that they would only

   consider producing digital copies of all works-in-suit if BHN’s counsel detailed its plans

   to analyze that discovery and how it would use such discovery for its investigations

   (despite this analysis being core work product).

          Plaintiffs’ objections are not legitimate and would prevent meaningful discovery

   into a core issue: whether copyright infringement of each work-in-suit actually occurred.

   See Johnson, 2017 WL 8948379 at *1–2.              A copy of each of the works-in-suit is

   necessary to enable BHN to compare the works to the alleged infringements and test

   Plaintiffs’ evidence of direct infringement, an essential predicate to secondary liability.

   Stern v. Weinstein, No. CV 09-1986-DMG, 2010 WL 11459354, at *1–2 (C.D. Cal. Aug.

   19, 2010) (holding it “obvious, and entirely fair, for defendant to first have access to a

   copy of the [work in suit]” before being required to construct defense based on work(s)-

   in-suit); see also Sun Media Sys., Inc. v. KDSM, LLC, 576 F. Supp. 2d 1018, 1019 (S.D.

   Iowa 2008) (noting fact finders are aided when they have “complete copies of both the

   copyrighted work and the allegedly infringing work.”) (quoting Hartman Nelson v. PRN

   Prods., Inc., 873 F.2d 1141, 1143 (8th Cir. 1989)). That is particularly true where, as


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   here, Plaintiffs seek up to $150,000 per work infringed in statutory damages. BHN is not

   alleged to have itself had possession of the works-in-suit, and plainly does not have

   copies of them. Plaintiffs instead take the remarkable position that BHN should go to

   iTunes and buy each of the 7,500-plus works individually. There is no potential burden

   that outweighs the proportional relevance of BHN being provided access to the alleged

   works-in-suit.

          It is particularly critical that BHN receive copies of the works-in-suit because

   Plaintiffs used a third party, MarkMonitor to identify the alleged infringements at issue.

   (Ranahan Decl., Ex. 13 at 20). BHN is entitled to investigate which party (if any)

   downloaded copies of the alleged infringements as evidence and how they were matched

   (to the extent they were matched). BHN, therefore, needs to be able to have access to the

   claimed works to compare them with whatever library was used to do the matching.

          BHN’s counsel has provided a sufficient basis to seek the information, and is not

   required to detail for Plaintiffs’ counsel all the ways it may use relevant evidence.

   Plaintiffs have provided no authority to suggest otherwise. Plaintiffs have also failed to

   articulate how producing digital copies of their works would be overly burdensome.

   Dearth v. Hartford Fire Ins. Co., No: 6:16-cv-1603-Orl-37KRS, 2018 WL 6261843 at *3

   (M.D. Fla. Mar. 19, 2018) (overruling objections and requiring production where plaintiff

   failed to provide “sufficient evidence to support these claims of burden and

   proportionality.”).

          Plaintiffs should be ordered to produce digital copies of all the works-in-suit.




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          B. BHN is Entitled to Meaningful Financial Data for The Works-In-Suit

          BHN propounded discovery requests, RFP Nos. 9, 12, 14, 16, 17, 18, 19, 26, and

   61, seek basic financial information relevant to Plaintiffs’ claim for damages. The full

   text of the requests, objections, and responses follow:

   REQUEST 9: Documents that contain information in a readable and useable format
   (e.g., Microsoft Excel or Access) sufficient to demonstrate the revenue You generated
   from any assignments, licenses, and/or grant or transfer of rights of each Copyright Work
   for the last ten (10) years.
   OBJECTIONS: Plaintiffs object to this request because “revenue you generated from
   any assignments, licenses, and/or grant or transfer of rights” is vague and confusing.
   Plaintiffs also object because Plaintiffs’ revenues from assignment are not relevant to
   liability or damages. Plaintiffs also object to this request to the extent it seeks information
   beyond what is available to Plaintiffs at present from a reasonable and diligent search of
   documents in their possession, custody, or control, or imposes duties or obligations
   beyond or inconsistent with those imposed by the Federal Rules of Civil Procedure or the
   applicable rules and orders of this Court. In particular, Plaintiffs object to the request for
   revenue generated “from any assignments, licenses, and/or grant or transfer of rights of
   each Copyright Work for the last ten (10) years” as overly broad, unduly burdensome,
   and disproportionate to the needs of the case, as it appears to impose on Plaintiffs an
   obligation to create (and format) information not already in existence. To the extent BHN
   seeks to require Plaintiffs to alter or re-format information kept in the ordinary course of
   business, Plaintiffs object because BHN may not shift the burden and cost of its peculiar
   requirements onto Plaintiffs. Plaintiffs further object to the request’s directive for
   information “in a readable and useable format (e.g., Microsoft Excel or Access)” to the
   extent inconsistent with applicable law concerning the production of electronically stored
   information. Additionally, Plaintiffs object on the basis that the request for annual
   revenue over the last ten years from every assignment of every copyrighted work in suit
   is overly broad and not proportional to the needs of the case. Therefore, the burden and/or
   expense of the proposed discovery outweighs any likely benefit or potential relevance.
   RESPONSE: Subject to the foregoing objections, upon entry of an appropriate protective
   order, Plaintiffs will produce responsive, non-privileged documents in their possession,
   custody, or control sufficient to demonstrate Plaintiffs’ total annualized U.S. revenues,
   expenses, and profits for the years 2010 through 2016.
   REQUEST 12: All documents that evidence, refer to, discuss, support, or refute any
   damages or harm, including, without limitation, monetary damage, You claim to have
   suffered, or believe are likely to suffer, due to the infringements of each of the Copyright
   Works by BHN’s subscribers, account holders, or customers, as alleged in Your
   Complaint.


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   OBJECTIONS: Plaintiffs object to this request as premature because Plaintiffs do not
   yet know the full scope of BHN’s infringement of Plaintiffs’ copyrighted works. A more
   complete picture of BHN’s infringement will be developed and determined during
   discovery. Plaintiffs reserve the right to rely upon and/or assert in this litigation any of
   their copyrighted works infringed by BHN. Moreover, Plaintiffs object to this request
   because much of the information sought by this request is within BHN’s possession,
   custody, or control, which Plaintiffs are presently seeking from BHN in discovery in this
   case. For example, BHN’s documents showing that it continued to provide services to
   subscribers repeatedly infringing the copyrighted works in suit will help demonstrate
   “damages or harm, including . . . monetary damage” Plaintiffs suffered due to
   infringement of the copyrighted works in suit by BHN’s subscribers, account holders, or
   customers.
   Plaintiffs also object to this request insofar as it seeks information protected by the
   attorney-client privilege, attorney work-product doctrine, or joint defense or common-
   interest privilege, as trial preparation materials, or other privilege or immunity recognized
   by law. Such information shall not be produced in response to any of BHN’s requests,
   and any inadvertent production shall not be deemed to waive any privilege with respect to
   such information. In addition, Plaintiffs object to this request’s call for “all documents
   that evidence, refer to, discuss, support, or refute any damages or harm” as overly broad,
   not proportional to the needs of the case, and therefore unduly burdensome.
   RESPONSE: Subject to the foregoing objections, upon entry of an appropriate protective
   order, Plaintiffs will produce responsive, non-privileged documents in their possession,
   custody, or control sufficient to demonstrate Plaintiffs’ total annualized U.S. revenues,
   expenses, and profits for the years 2010 through 2016.
   REQUEST 14: All documents, including appraisals and documents reflecting
   negotiations concerning and agreements covering the sale of the Copyright Works,
   concerning valuation and/or value of the copyrights and the Copyright Works You assert
   in this litigation at any time, from the time You acquired them or were considering the
   acquisition of them through the present.
   OBJECTIONS: Plaintiffs object to the request as overly broad, unduly burdensome, and
   not proportional to the needs of the case, including in that it seeks “[a]ll documents . . .
   concerning” broad subject matters, including valuation and/or value and negotiations.
   “All documents” in and of itself is overly broad and unduly burdensome.
   Additionally, Plaintiffs object because the request for valuation and/or value “from the
   time You acquired” the copyrighted works or “were considering the acquisition of them”
   is vague and ambiguous, overly broad, and seeks information not relevant or important to
   resolving the issues in the action. The burden and/or expense of the proposed discovery
   thus outweighs any likely benefit. Further, “negotiations” could involve any number of
   contract terms that have no bearing on or relevance to this case. Plaintiffs also object
   because the term “sale of the Copyright Works” is vague and ambiguous. For example, it
   is unclear whether BHN is referring to the sale of ownership of a copyrighted work or
   sale of an authorized copy of a copyrighted work. In addition, the failure to narrow this


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   request to a specific timeframe renders it overly broad, unduly burdensome and not
   proportional to the needs of the case.
   RESPONSE: Subject to the foregoing objections, upon entry of an appropriate protective
   order, Plaintiffs will produce responsive, non-privileged documents in their possession,
   custody, or control sufficient to demonstrate (1) that Plaintiffs are the legal and/or
   beneficial owners of an exclusive right under copyright to their respective copyrighted
   works in suit, to the extent such documents can be located following a reasonable and
   diligent search, and (2) Plaintiffs’ total annualized U.S. revenues, expenses, and profits
   for the years 2010 through 2016.
   REQUEST 16: All documents concerning trends, forecasts, projections, or any other
   financial plans related to royalties, sales, revenue, or profits generated through streaming,
   digital downloads, physical media, and/or any other media, of the Copyright Works.
   OBJECTIONS: Plaintiffs object to this request because it is overly broad, unduly
   burdensome, and not proportional to the needs of the case, including in that it seeks “[a]ll
   documents concerning” broad subject matter. The information sought is not relevant to
   resolving any issues in the action, and the burden and/or expense of the proposed
   discovery outweighs any likely benefit or potential relevance.
   RESPONSE: Subject to the foregoing objections, upon entry of an appropriate protective
   order, Plaintiffs will produce responsive, non-privileged documents in their possession,
   custody, or control sufficient to demonstrate Plaintiffs’ total annualized U.S. revenues,
   expenses, and profits for the years 2010 through 2016.
   REQUEST 18: Documents that contain information in a readable and useable format
   (e.g., Microsoft Excel or Access) sufficient to demonstrate Your total annual revenue
   from each Copyright Work by medium for each of the last ten (10) years.
   OBJECTIONS: Plaintiffs object to this request because Plaintiffs’ revenues are not
   relevant to any issue related to liability or damages. Plaintiffs also object to the request
   because it is overly broad, unduly burdensome, and not proportional to the needs of the
   case. For example, Plaintiffs commercialize their works in many different ways. The term
   “medium” could encompass a wide range of physical products such as vinyl records,
   cassette tapes, CDs, super audio CDs, DVD audio discs, and Blu-ray audio discs, as well
   as digital products, including downloads, live streams, and on-demand streams.
   In addition, Plaintiffs object to this request to the extent it seeks information beyond what
   is available to Plaintiffs at present from a reasonable and diligent search of documents in
   their possession, custody, or control, or imposes duties or obligations beyond or
   inconsistent with those imposed by the Federal Rules of Civil Procedure or the applicable
   rules and orders of this Court. In particular, Plaintiffs object to the request for “total
   annual revenue from each Copyright Work by medium and for each of the last ten (10)
   years [less costs and expenses]” as unduly burdensome as it appears to impose on
   Plaintiffs an obligation to create (and format) information not already in existence. To the
   extent BHN seeks to require Plaintiffs to alter or re-format information kept in the
   ordinary course of business, Plaintiffs object because BHN may not shift the burden and
   cost of its peculiar requirements onto Plaintiffs. Plaintiffs further object to the request’s
   directive for information “in a readable and useable format (e.g., Microsoft Excel or

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   Access)” to the extent inconsistent with applicable law concerning the production of
   electronically stored information.
   RESPONSE: Subject to the foregoing objections, upon entry of an appropriate protective
   order, Plaintiffs will produce responsive, non-privileged documents in their possession,
   custody, or control sufficient to demonstrate Plaintiffs’ total annualized U.S. revenues,
   expenses, and profits for the years 2010 through 2016.
   REQUEST 19: Documents that contain information in a readable and useable format
   (e.g., Microsoft Excel or Access) sufficient to demonstrate Your total annual expense and
   profit from each Copyright Work by medium and for each of the last ten (10) years.
   OBJECTIONS: Plaintiffs object to this request because Plaintiffs’ profits and expenses
   are not relevant to any issue related to liability or damages. Plaintiffs also object to the
   request because it is overly broad, unduly burdensome, and not proportional to the needs
   of the case. For example, Plaintiffs commercialize their works in many different ways.
   The term “medium” could encompass a wide range of physical products such as vinyl
   records, cassette tapes, CDs, super audio CDs, DVD audio discs, and Blu-ray audio discs,
   as well as digital products, including downloads, live streams, and on-demand streams. In
   addition, Plaintiffs object to this request to the extent it seeks information beyond what is
   available to Plaintiffs at present from a reasonable and diligent search of documents in
   their possession, custody, or control, or imposes duties or obligations beyond or
   inconsistent with those imposed by the Federal Rules of Civil Procedure or the applicable
   rules and orders of this Court. In particular, Plaintiffs object to the request for “total
   annual profit from each Copyright Work by medium and for each of the last ten (10)
   years” as unduly burdensome as it appears to impose on Plaintiffs an obligation to create
   (and format) information not already in existence. To the extent BHN seeks to require
   Plaintiffs to alter or re-format information kept in the ordinary course of business,
   Plaintiffs object because BHN may not shift the burden and cost of its peculiar
   requirements onto Plaintiffs. Plaintiffs also object to the request’s directive for
   information “in a readable and useable format (e.g., Microsoft Excel or Access)” to the
   extent inconsistent with applicable law concerning the production of electronically stored
   information. Further, Plaintiffs object to this request as unreasonably cumulative and
   duplicative                  of                 Request                 No.              18.
   RESPONSE: Subject to the foregoing objections, upon entry of an appropriate protective
   order, Plaintiffs will produce responsive, non-privileged documents in their possession,
   custody, or control sufficient to demonstrate Plaintiffs’ total annualized U.S. revenues,
   expenses, and profits for the years 2010 through 2016.
          BHN seeks information regarding Plaintiffs’ profits, revenues, and expenses on a

   per-work basis, as well as underlying agreements and other documents relevant to those

   calculations. Plaintiffs’ responses inappropriately limit the scope of their production to

   “documents sufficient to demonstrate Plaintiffs’ total annualized U.S. revenues,


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    expenses, and profits for the period of 2010 through 2016.” Plaintiffs have specifically

    excluded financial data on a per-work basis, and revenue, expenses, and profits for

    physical sales, streaming sales, and licensing. (Ranahan Decl., ¶ 14).

           The Supreme Court has made clear that copyright damages must be determined

    work by work. Feltner v. Columbia Pictures Television, Inc. 523 U.S. 340, 353 (1998).

    Under the Copyright Act, 17 USC § 504(b)-(c), the ranges for available damages vary per

    work depending on whether the plaintiff ultimately elects actual or statutory damages.

    Even if Plaintiffs ultimately elect statutory damages instead of actual damages (which

    they have yet to do), the law is clear that actual damages (or a lack thereof) are still

    relevant to an assessment of where on the wide range of statutory damages (between

    $200 and $150,000 per work) the jury decides is a “just” award for each work. F.W.

    Woolworth Co. v. Contemporary Arts, Inc., 344 U.S. 228, 232 (1952) (quoting I.A.

    Westermann Co. v. Dispatch Printing Co., 249 XJ.S. 100, 106 (1919)); see also N.A.S.

    Imp. Corp. v. Chenson Enter., Inc., 968 F.2d 250, 252-53 (2d Cir. 1992) (value of the

    copyright relevant to the jury’s determination of statutory damages). Statutory damages

    awarded should encompass consideration and “bear some relation” to any “actual

    damages suffered”, or lack thereof. Van Der Zee v. Greenidge, No. 03 Civ 8659, 2006

    WL 44020, at *2 (S.D.N.Y. Jan. 6, 2006) (statutory damages must bear some relation to

    actual damages), Kleiner v. Burns, No. 00–2160–JWL, 2000 WL 1909470 at*3 (D. Kan.

    Dec. 22, 2000) (compelling production of plaintiff’s computation of actual damages

    because of its relevance to statutory damages).




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           Even assuming Plaintiffs prove ownership and infringement with respect to any of

    the works at issue, BHN has the right to investigate this data in discovery in connection

    with assessing what level of actual or statutory damages, if any, would be most just.

    Plaintiffs may not preclude discovery into actual damages unless seeking only the

    minimum statutory damages, because statutory damages “should bear some relation to

    actual damages suffered.” Van Der Zee at *2.

           In a similar litigation filed by the same Plaintiffs in a case pending in the Eastern

    District of Virginia against another internet service provider (the “Cox” matter), the court

    found financial information identical to that sought here to be relevant, even despite

    Plaintiffs’ election of statutory damages. Sony Music Entm’t. et. al v. Cox Commc’ns Inc.,

    Case No. 1:18-cv-950 (Ranahan Decl., Ex. 11) (requiring Plaintiffs to produce revenue

    by work and by channel, physical downloads, streaming, and licensing data); (Ranahan

    Decl., Ex. 12) (granting defendants’ motion to compel financial information).

           Other courts in copyright cases have specifically compelled documents consisting

    of licensing agreements and other documents relating to value of the works at issue

    and/or actual damages, including profits and revenues. Adams v. Agrusa, No. 2:15–cv–

    07270–SVW–RAO, 2016 WL 7665767, at *3 (C.D. Cal. July 20, 2016); Religious Tech.

    Ctr. v. Netcom On-Line Commun. Servs., 923 F. Supp. 1231, 1241 (N.D. Cal. 1995); see

    also BMG v. Global Eagle Order (Ranahan Decl., Ex. 10) (granting motion to compel the

    plaintiff to produce, in a mass copyright case like this one, licensing agreements, revenue

    information and value information relating to the work-in-suit).




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           BHN seeks to compel the requested documents to assess the harm Plaintiffs are

    alleged to have suffered as a result of the alleged infringement. Plaintiffs must also

    provide any assessment of damages in light of the information currently available in

    sufficient detail so as to enable BHN to understand the contours of their potential

    exposure and make informed decisions as to settlement and discovery. City & Cnty. Of

    San Francisco v. Tutor-Saliba Corp., 218 F.R.D. 219, 221 (N.D. Cal. 2003).

           Plaintiffs have articulated no valid objection for denying BHN otherwise clearly

    discoverable information. Indeed, Plaintiffs admit the value of works at issue is directly

    relevant, stating in their initial disclosures that “[a] more detailed computation of

    damages is premature…because a significant amount of information bearing

    on…damages—such as…the value of Plaintiffs’ recordings and musical compositions

    at issue…will otherwise be developed during the discovery process.” (Ranahan Decl.,

    Ex. 10) (emphasis added).

           While Plaintiffs claim that they “do not maintain records of profits, expenses, or

    revenue, organized by medium and by work as requested,” it is unlikely that Plaintiffs do

    not maintain any responsive financial information to these Requests that relates to the

    value of the works-in-suit. (Ranahan Decl., Ex. 4). In fact, there are multiple ways that

    record labels and music publishers like Plaintiffs may have earned revenues in connection

    with the works-in-suit, including through physical sales, digital downloads, interactive

    streaming, compulsory digital public performance, master use and synchronization

    licenses (in films, television and/or commercials), distribution, licensing fees, mechanical

    royalties and performance royalties.        The value of the musical works to those


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    arrangements would be expected to be reflected through documents such as internal

    accounting documents, licenses and other agreements with third parties, royalty

    statements, internal analysis regarding profitability (or lack thereof) of various works or

    catalogues, and/or valuations.

           In the pending Cox case, the court rejected the plaintiffs’ arguments regarding

    proportionality and burden as to the very same documents BHN now seeks in requiring

    Plaintiffs to produce revenue by work and by channel, physical downloads, streaming,

    and licensing data. (Ranahan Decl., Exs. 11, 12). The burden is even less than it was in

    the pending Cox case, as there is substantial overlap between the works-in-suit here and

    those asserted in Cox. (E.g., Ranahan Decl., ¶ 12) (representing that a comparison of the

    works-in-suit in Exhibits A and B of Complaint with works-in-suit asserted in Cox

    showed an identity of over 82%)). Plaintiffs cannot claim that there is an undue burden

    in producing information related to claims and defenses that were already gathered and

    produced for other recent litigations by the same counsel representing Plaintiffs in both

    cases. See, e.g., Fed. R. Civ. P. 26(b)(1) (considering “the parties’ relative access to

    relevant information” in evaluating burden).

           Further, to avoid discovery based on a proportionality objection, the party

    resisting discovery “still bears the burden of…showing that the discovery fails the

    proportionality calculation mandated by Rule 26(b).” See Carr v. State Farm Mutual

    Auto. Ins. Co., 312 F.R.D. 459, 469 (N.D. Tex. 2015). Plaintiffs have not and cannot do

    so, at least with respect to the vast majority of the works at issues.




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           For all these reasons, Plaintiffs should thus be compelled to produce documents

    and information responsive to Requests 9, 12, 14, 16, 17, 18, 19, 26, and 61.

       C. BHN Is Entitled to Documents and Information Concerning CAS

           BHN propounded discovery requests, including Interrogatory No. 5 and RFP Nos.

    51, 68-75, regarding CAS, the CAS MOU, and its implementation. The full text of these

    requests, objections, and responses follow.

    INTERROGATORY NO. 5: Identify all of the ISPs with which You, either directly or
    indirectly, have communicated regarding the CAS, any agreements related to the CAS,
    and     the    processing      of     copyright     infringement      notices    by      ISPs.
    OBJECTIONS: 1. Plaintiffs object to the interrogatory because CAS and Plaintiffs’
    communications with other ISPs about it are irrelevant. CAS was a private agreement in
    which BHN did not participate. CAS has no bearing on the claims or defenses in suit.
    Any communications by Plaintiffs with ISPs other than BHN also have no bearing on
    BHN’s continued provision of internet service to subscribers it knew repeatedly infringed
    Plaintiffs’ copyrights. Moreover, the identities of the parties to the CAS agreement,
    including ISPs, are well known publicly, including to BHN. 2. Plaintiffs object to the
    interrogatory as vague, ambiguous, overbroad, unduly burdensome, and disproportionate
    to the needs of the case. The phrase “indirectly . . . communicated” has multiple
    definitions and could encompass, for example, a public report posted on the internet read
    by an employee of any ISP, including those outside of the United States. Plaintiffs have
    no way of knowing the scope of all such “indirect” communications. Likewise, the phrase
    “any agreements related to the CAS,” has multiple definitions and could be read
    expansively. 3. Plaintiffs object to the interrogatory because it contains two distinct topics
    that should be separately numbered interrogatories: (1) CAS; and (2) the processing of
    copyright infringement notices by ISPs.
    REQUEST NO. 51: All documents concerning settlements or agreements that You, or
    anyone acting on Your behalf, have reached, proposed, or internally approved with any of
    BHN’s subscribers, account holders, or customers, or of customers of ISPs other than
    BHN.
    OBJECTIONS: Plaintiffs object to this request because it seeks vast amounts of
    information concerning unrelated nonparties and therefore has no apparent relevance to
    resolving the issues in the action. Further, Plaintiffs object to this request insofar as its
    purpose is to obtain evidence of such nonparties’ conduct in order to excuse BHN’s own
    malfeasance. Plaintiffs object to this request as overly broad, unduly burdensome, and not
    proportional to the needs of the case, including in that it seeks “documents concerning
    settlements or agreements” regarding any subject matter, including “documents
    concerning settlements or agreements” with subscribers of ISPs other than BHN.

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    Moreover, in this context, the request requires Plaintiffs to identify whether a particular
    individual is a BHN subscriber, information that is most accessible to BHN and within
    BHN’s own possession, custody, and control. Plaintiffs also object to this request as
    overly broad and unduly burdensome, including in that it is not limited to any relevant
    time period, nor to the copyrighted works in suit. Additionally, Plaintiffs object to this
    request because it seeks information protected by the attorney-client privilege, the
    attorney work-product doctrine, or the joint defense or common-interest privilege, as trial
    preparation materials, or under other privilege or immunity recognized by law.
    RESPONSE: Pursuant to the foregoing objections, Plaintiffs respond that they will not
    produce documents responsive only to this request.

    REQUEST NO. 68: All documents concerning CAS.
    REQUEST NO. 69: All documents concerning negotiations related to CAS.
    OBJECTIONS TO REQUEST NOS. 68 AND NO. 69: Plaintiffs object to this request
    because CAS is irrelevant. CAS was a private agreement in which BHN did not
    participate. It has no bearing on BHN’s liability or damages for the claims alleged in this
    case. Plaintiffs also object to this request as overly broad, unduly burdensome, and not
    proportional to the needs of the case, including in that it seeks “all documents”
    concerning broad subject matter—the Copyright Alert System—which BHN did not take
    part in. Moreover, the request seeks documents irrespective of BHN, the copyrighted
    works in suit, or the relevant time period. The request thus seeks vast amounts of
    information not remotely relevant to resolving the issues in the action, and the burden
    and/or expense of the proposed discovery thus far outweighs the likely benefit, if any.
    Plaintiffs also object to this request insofar as its purpose is to obtain evidence relating to
    nonparties’ conduct in order to excuse BHN’s own malfeasance. In addition, Plaintiffs
    object to this request insofar as it seeks information protected by the attorney-client
    privilege, the attorney work-product doctrine, or the joint defense or common-interest
    privilege, as trial preparation materials, or under other privilege or immunity recognized
    by law. In addition, Plaintiffs object to the request because it is unreasonably cumulative
    and duplicative of Request Nos. 69-75.
    RESPONSE TO REQUEST NOS. 68 AND NO. 69: Pursuant to the foregoing
    objections, Plaintiffs respond that they will not produce documents responsive only to
    this request.

    REQUEST NO. 70: All documents concerning any Memorandum of Understanding
    concerning CAS, including without limitation the July 6, 2011 Memorandum of
    Understanding (the “7/6/2011 MOU”) to which the RIAA was a signatory (singly or
    collectively, a “CAS MOU”), and any related document or agreement (such as the
    Implementation Agreement You entered into pursuant to the 7/6/2011 MOU).
    REQUEST NO. 71: All documents concerning Your status as a signatory of a CAS
    MOU.
    REQUEST NO. 72: All documents concerning BHN’s compliance or non-compliance
    with policies or procedures reflected in CAS, a CAS MOU, or any Implementation

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    Agreement                 concerning               a              CAS                MOU.
    REQUEST NO. 73: All documents concerning any technological system used to detect,
    monitor, or generate or send notifications concerning, copyright infringement in
    connection with CAS, a CAS MOU, or any Implementation Agreement concerning a
    CAS                                                                                  MOU.
    REQUEST NO. 74: All reviews, assessments, evaluations, reports, or the like, including
    drafts, concerning CAS, including without limitation any technological system utilized in
    connection                                     with                                   CAS.
    REQUEST NO. 75: All documents concerning notifications sent pursuant to CAS, any
    CAS MOU, or any Implementation Agreement, concerning allegations of copyright
    infringement                of              any              Copyright               Work.
    OBJECTIONS TO REQUESTS NOS. 70-75: Plaintiffs object to this request because
    CAS is irrelevant. CAS was a private agreement in which BHN did not participate. It has
    no bearing on BHN’s liability or damages for the claims alleged in this case. Plaintiffs
    object to this request insofar as its purpose is to obtain evidence relating to nonparties’
    conduct in order to excuse BHN’s own malfeasance. Plaintiffs also object to this request
    as overly broad, unduly burdensome, and not proportional to the needs of the case,
    including in that it seeks “all documents” concerning broad subject matter—the
    Copyright Alert System—which BHN did not take part in. Moreover, the request seeks
    such documents irrespective of BHN, the copyrighted works in suit, or the relevant time
    period. As such, the request seeks information not remotely relevant to resolving the
    issues in the action, and the burden and/or expense of the proposed discovery far
    outweighs the likely benefit, if any. Plaintiffs object to this request insofar as it seeks
    information protected by the attorney-client privilege, the attorney work-product
    doctrine, or the joint defense or common-interest privilege, as trial preparation materials,
    or under other privilege or immunity recognized by law. In addition, Plaintiffs object to
    the request because it is unreasonably cumulative and duplicative of Request Nos. 68-69
    and                                                                                  71-75.
    RESPONSES TO REQUEST NOS. 70-75: Pursuant to the foregoing objections,
    Plaintiffs respond that they will not produce documents responsive only to this request.
           CAS was a highly publicized inter-industry agreement entered into between major

    U.S. ISPs and content owners, including many Plaintiffs. CAS and the CAS MOU

    specifically address the ways in which ISPs should appropriately handle notices of

    alleged copyright infringement. In July 2011, parties to CAS signed the CAS MOU, and

    created a new organization, the Center for Copyright Information (“CCI”), to oversee,

    implement, and administer CAS and CAS MOU. In particular, CAS MOU includes

    provisions—agreed to by multiple ISPs and Plaintiffs—addressing whether and when an

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    ISP has the obligation to terminate the accounts of subscribers targeted in infringement

    notices; an issue directly relevant to any underlying contributory liability in this case, as

    Plaintiffs allege that BHN should be held liable for failing to routinely terminate

    subscribers. BHN was not a signatory to CAS, and does not have access to many of the

    relevant documents and communications regarding CAS, CAS MOU, or the CCI.

           Plaintiffs refuse to provide any discovery responsive to BHN’s RFP, including

    any information about communications concerning the CAS and its implementation.

    (Ranahan Decl., Ex. 6) (“Plaintiffs do not rely on comparisons between BHN and other

    ISPs, or any sort of alleged ‘industry standard,’ in their Complaint.”). Plaintiffs disregard

    the fact that Fed. R. Civ. P. 26(b)(1) permits discovery into the claims and defenses of

    any party, including both plaintiffs and defendants, and not just the party bringing suit.

    Id. The CAS is relevant—and in fact, central—to this case because it reflects industry

    standards and practices during the asserted Claim Period that Plaintiffs themselves found

    reasonable. These standards and practices include actions taken by other ISPs with

    respect to termination that form the basis of Plaintiffs’ suit against BHN here. Regions

    Bank v. Lynch, No. 2:08-cv-31-FtM-99SPC, 2008 WL 11334993 at *2 (M.D. Fla. Dec. 9,

    2008) (overruling objections where requested information “goes directly to the heart of

    the [] claim.”). Though there are no direct references to CAS, the Complaint is full of

    allegations that BHN’s failure to terminate its subscribers after receiving notices of

    infringement was “unreasonable” and constituted BHN’s desire to turn a “blind eye” to

    alleged infringement. (E.g., Ranahan Decl., Ex. 13, Complaint at ¶¶ 3, 4, 8, 9, 74, 81, 83,

    86, 100). These are precisely the actions Plaintiffs sanctioned and found agreeable as an


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    industry-wide solution through CAS and the CAS MOU. Accordingly, BHN’s motion to

    compel documents and information responsive to these requests should be granted.

       D. BHN Is Entitled to Documents to Test Ownership of the Works-In-Suit

           BHN requested documents concerning ownership of the works-in-suit, including

    copyright registrations, complete chain of title information, documents regarding disputes

    and challenges to ownership, and work-for-hire agreements, through Request Nos. 3, 4, 5,

    8, and 14. The full text of the requests, objections, and responses follow.

    REQUEST 3: All documents concerning communications between You and the
    Copyright Office and all documents issued by the Copyright Office, regarding the
    Copyright Works, including, but not limited to, all applications to register the Copyright
    Works, certificates of copyright registrations for each of the Copyright Works,
    supplemental registrations, renewals of registrations, recorded assignments, recorded
    transfers,            and/or               terminations               of              transfer.
    OBJECTIONS: Plaintiffs object to the request as overly broad and irrelevant because it
    seeks “all documents concerning communications [with] the Copyright Office.”
    Communications, or other documents, about communications go far beyond the scope of
    information relevant to resolving the issues in the case and therefore present an undue
    burden. The request for documents issued by the Copyright Office is also overly broad,
    unduly burdensome, and irrelevant, including in that it seeks information as to all
    copyrighted works in suit, rather than only those copyrighted works for which such
    information is necessary or relevant to the issues in the case. Moreover, Plaintiffs object
    to the request insofar as it seeks documents and/or information equally and readily
    available to Bright House, including through publicly-available sources.
    RESPONSE: Subject to the foregoing objections, Plaintiffs will produce for each of the
    copyrighted works in suit either a certificate of copyright registration or, if a certificate is
    not readily accessible, a look-up page evidencing registration printed from the U.S.
    Copyright Office’s website. Alternatively, for some older copyrighted works, Plaintiffs
    will produce a copy of the Copyright Office’s card-catalogue entry evidencing
    registration. Upon entry of an appropriate protective order, Plaintiffs will produce
    responsive, non-privileged documents in their possession, custody, or control sufficient to
    demonstrate that Plaintiffs are the legal and/or beneficial owners of an exclusive right
    under copyright to their respective copyrighted works in suit, to the extent such
    documents can be located following a reasonable and diligent search.
    REQUEST 4: Documents sufficient to demonstrate whether any of the Copyright Works
    was    created      as        or       is       a       work        for      hire.
    OBJECTIONS: This request is overly broad, unduly burdensome, and irrelevant,

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    including in that it seeks information as to all copyrighted works in suit, rather than only
    those copyrighted works, if any, for which such information is necessary or relevant to
    the issues in the case. Therefore, the burden and/or expense of the proposed discovery
    outweighs any likely benefit. Plaintiffs also object to this request as unreasonably
    cumulative      or      duplicative,    for      example      of      Request       No.       3.
    RESPONSE: Subject to the foregoing objections, Plaintiffs will produce for each of the
    copyrighted works in suit either a certificate of copyright registration or, if a certificate is
    not readily accessible, a look-up page evidencing registration printed from the U.S.
    Copyright Office’s website. Alternatively, for some older copyrighted works, Plaintiffs
    will produce a copy of the Copyright Office’s card-catalogue entry evidencing
    registration. Upon entry of an appropriate protective order, Plaintiffs will produce
    responsive, non-privileged documents in their possession, custody, or control sufficient to
    demonstrate that Plaintiffs are the legal and/or beneficial owners of an exclusive right
    under copyright to their respective copyrighted works in suit, to the extent such
    documents can be located following a reasonable and diligent search.
    REQUEST 5: All documents concerning ownership of or claims of right in the
    Copyright Works, including those evidencing, referring, or relating to the chain of title
    for the Copyright Works or those pertaining to disputes related to any time, of the
    Copyright                                                                              Works.
    OBJECTIONS: This request’s call for “all documents” is overly broad, unduly
    burdensome, and not proportional to the needs of the case, including in that it seeks “[a]ll
    documents . . . evidencing, referring, or relating to” chain of title. Moreover, the request’s
    call for documents “concerning ownership of or claims of right” in the copyrighted works
    is vague and ambiguous. This request improperly asks Plaintiffs to make a legal
    conclusion and produce all supporting documents, rather than adequately identifying a
    specific category of documents for which Plaintiffs should search the records kept in the
    ordinary course of their businesses. Plaintiffs interpret the request to seek documents
    and/or materials sufficient to demonstrate that Plaintiffs are the legal and/or beneficial
    owners of an exclusive right under copyright to their respective works in suit.
    With respect to documents relating to the chain of title, Plaintiffs object because the
    request also seeks information as to all copyrighted works in suit, rather than only those
    copyrighted works, if any, for which such information may be necessary or relevant to
    the issues in the case. Additionally, Plaintiffs object to the term “chain of title” as vague
    and ambiguous to the extent it calls for a legal conclusion. Plaintiffs interpret this part of
    the request to seek documents sufficient to demonstrate that Plaintiffs own or control the
    copyrighted works in suit.
    With respect to documents pertaining to disputes, Plaintiffs object to this request’s call
    for “all documents” during “any time” frame as overbroad, unduly burdensome, and
    disproportionate to the needs of the case. Additionally, the request for documents
    concerning “disputes” is vague and ambiguous. Plaintiffs therefore interpret this part of
    the request as seeking documents concerning a litigation or demand letter challenging
    ownership of a copyrighted work in suit. Plaintiffs further object to this part of the

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    request as irrelevant in seeking “[a]ll documents . . . pertaining to disputes” regardless of
    the nature or outcome of such disputes. Plaintiffs also object to this part of the request
    insofar as it seeks information protected by the attorney-client privilege, attorney work-
    product doctrine, or other privilege or immunity recognized by law. Such information
    shall not be produced in response to any of Bright House’s requests, and any inadvertent
    production shall not be deemed to waive any privilege with respect to such information.
    RESPONSE: Subject to the foregoing objections, Plaintiffs will produce for each of the
    copyrighted works in suit either a certificate of copyright registration or, if a certificate is
    not readily accessible, a look-up page evidencing registration printed from the U.S.
    Copyright Office’s website. Alternatively, for some older copyrighted works, Plaintiffs
    will produce a copy of the Copyright Office’s card-catalogue entry evidencing
    registration. Upon entry of an appropriate protective order, Plaintiffs will produce
    responsive, non-privileged documents in their possession, custody, or control sufficient to
    demonstrate that Plaintiffs are the legal and/or beneficial owners of an exclusive right
    under copyright to their respective copyrighted works in suit, to the extent such
    documents can be located following a reasonable and diligent search. Plaintiffs are
    otherwise withholding responsive documents on the basis of their objections, to the
    extent such documents exist. Pursuant to the foregoing objections, Plaintiffs further state
    that they will not produce documents responsive only to the request for documents
    “pertaining to disputes.” Notwithstanding the foregoing, Plaintiffs are willing to meet and
    confer with Bright House if and when Bright House identifies a good faith basis for
    disputing the ownership of a particular copyrighted work or works in suit.
    REQUEST 8: All documents concerning any licenses, assignments, and/or grant or
    transfer of rights of the copyrights that You claim cover(ed) the Copyright Works for any
    of the last ten (10) years, including copies of agreements reflecting such licenses,
    assignments, and/or grant or transfer of rights and documents analyzing such licenses,
    assignments,           and/or         grant       or         transfer       of       rights.
    OBJECTIONS: Plaintiffs object to this request’s call for “all documents concerning any
    licenses, assignments, and/or grant or transfer of rights” as overly broad, not proportional
    to the needs of the case, and therefore unduly burdensome. The request for “all
    documents” is in and of itself overly broad and not proportional to the needs of the case.
    In addition, the request seeks documents concerning any and all licenses, assignments,
    and/or grants or transfers of rights of the copyrighted works in suit, without regard to
    whether such assignments have any bearing on issues in this case, and Plaintiffs therefore
    object on relevance grounds, and on the grounds that the request is vague and ambiguous
    in its reach. Moreover, “grant or transfer of right” is vague and ambiguous. Plaintiffs also
    object to the part of this request pertaining to agreements as irrelevant. Bright House has
    no legitimate need for copies of all agreements reflecting licenses, agreements, and/or
    grants or transfers of rights of the copyrighted works. Plaintiffs’ agreements contain
    extremely sensitive and confidential business and proprietary information. The very high
    potential for prejudice to Plaintiffs and nonparties significantly outweighs the marginal, if
    any,      relevance       such     agreements       could      have     to     this    case.
    RESPONSE: Subject to the foregoing objections, upon entry of an appropriate protective

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    order, Plaintiffs will produce responsive, non-privileged documents in their possession,
    custody, or control sufficient to demonstrate that Plaintiffs are the legal and/or beneficial
    owners of an exclusive right under copyright to their respective copyrighted works in
    suit, to the extent such documents can be located following a reasonable and diligent
    search.
             As evident from their responses, absent identification of a specific ownership

    dispute or challenge by BHN, Plaintiffs have refused to produce responsive documents

    relating to any such disputes. (Ranahan Decl., Exs. 3 and 4). Plaintiffs have also refused

    to provide any documents or information beyond at least some of the copyright

    registration certificates, including refusing to produce chain-of-title information or work-

    for-hire agreements. In fact, Plaintiffs have not agreed to produce every actual copyright

    registration, and offer U.S. Copyright Office look-up screenshot pages if the actual

    registration is not available. (Ranahan Decl., Ex. 4).

           Plaintiffs have the burden to prove ownership, and must establish it in order to

    have a valid claim for relief. Feist Publ’ns., Inc. v. Rural Tel. Serv. Co., Inc., 499 U.S.

    340, 361 (1991); Twin Peaks Prods., Inc. v. Publ’ns Int’l Ltd., 996 F.2d 1366, 1372 (2d

    Cir. 1993). Requests related to Plaintiffs’ ownership of the allegedly infringed copyrights

    are relevant and within the scope of permissible discovery, because only an exclusive

    owner may sue for copyright infringement. Id.            While a copyright certificate may

    establish prima facie evidence of the validity of a copyright, the presumption is

    rebuttable, and does not definitively resolve whether ownership is valid. E.g., Big. E.

    Entm’t, Inc. v. Zomba Enter., Inc., 453 F. Supp. 2d 788, 800 (S.D.N.Y. 2006) (dismissing

    copyright infringement claim where plaintiff “failed to show undisputed evidence of its

    copyright ownership”); Moran v. London Records, Ltd., 642 F. Supp. 1023, 1025 (N.D.


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    Ill. 1986), aff’d, 827 F.2d 180 (7th Cir. 1987) (granting motion to dismiss upon finding

    that because plaintiff “was never part of the chain of title to the copyright” he lacked

    standing to sue for its infringement); Optima Tobacco Corp. v. US Flue-Cured Tobacco

    Growers, Inc., 171 F. Supp. 3d 1303, 1306 (S.D. Fla. 2016) (dismissing case where

    plaintiff did not own the copyrights at issue); Roberts v. Gordy, 359 F. Supp. 3d 1231,

    1240 (S.D. Fla. 2019) (holding that prima facie case of ownership did not preclude

    summary judgment on lack of ownership). Following the prima facie showing, the

    burden shifts to the defendant to show invalidity of the asserted copyrights. Id. The

    discovery BHN seeks is relevant and necessary with respect to at least this shifted

    burden.

           Plaintiffs’ objection that BHN must first affirmatively identify challenges to be

    entitled to the full scope of discovery on ownership is circular, and ignores that the

    presumption of validity is a rebuttable one that courts in copyright cases have found

    within the proper scope of discovery. See In re Napster, Inc. Copyright Litig., 191 F.

    Supp. 2d 1087, 1100 (N.D. Cal. 2002) (“refusing to allow any discovery on the issue of

    ownership converts the presumption of ownership into an irrefutable one.”). In Napster,

    the court stated that it was “reticent” “to allow plaintiffs, merely because of the quantity

    of music they control, to railroad Napster into potentially billions of dollars in statutory

    damages without adequately proving ownership.” Id. at 1100. As that court noted,

    “without reviewing the agreements . . . it is impossible to determine” whether the

    defendant’s arguments are valid, and the court ordered plaintiffs to “produce all

    documentation relevant to their ownership of the works.” Id. Similarly, here, BHN must


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    be able to review and analyze chain of title and assignment agreements to test Plaintiffs’

    theories regarding ownership of the over 7,500 works-in-suit. Otherwise it would be

    “impossible to determine” whether Plaintiffs’ claims are valid. Id.

           BHN also seeks to compel all agreements pertaining to works-in-suit that

    Plaintiffs claim are “works-for-hire.” (See Ranahan Decl, Ex. 4, RFP No. 4). For the

    works-in-suit that Plaintiffs have registered as works-for-hire pursuant to 17 U.S.C. §

    101, BHN is unable to assess Plaintiffs’ claim of ownership over these works from the

    copyright registrations alone. Rather, in order to be valid, Plaintiffs must have a work-

    for-hire agreement that dates from before the work was created, as required by 17 U.S.C.

    § 101. See Schiller & Schmidt, Inc. v. Nordisco Corp., 969 F.2d 410, 413 (7th Cir. 1992)

    (“The writing must precede the creation of the property in order to serve its purpose of

    identifying the (noncreator) owner unequivocally”); Gladwell Gov’t Servs., Inc. v. Cty. of

    Marin, 265 F. App’x 624, 626 (9th Cir. 2008) (“The plain language of the [Copyright

    Act] indicates that a work-for-hire agreement cannot apply to works that are already in

    existence.”); Arista Records, LLC v. Myxer, Inc. (granting motion to compel seeking

    “chain of title documents in plaintiffs’ possession, custody or control, directly bearing on

    the . . . plaintiffs’ ownership of the sound recordings [at issue], including work-for-hire

    agreements and assignment agreements”) (Ranahan Decl., Ex. 14, CV 08-3935 at Dkt.

    422 (Nov. 30, 2009)).

           Discovery into ownership is also critical because cases are streamlined by the

    mere ordering of such discovery. Indeed, upon being required to search for, collect, and

    produce the complete chain of title and related documents for works-in-suit in other


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    massive copyright cases, Plaintiffs themselves must confront that they do not own, or

    have the proof that they own, many of the works they are claiming. For example, these

    same Plaintiffs twice amended their complaint in the Cox action to drop hundreds of

    works after being ordered to produce chain of title documentation. (Compare Ranahan

    Decl., Ex. 7 with Ranahan Decl., Ex. 8). Because each individual work carries a separate

    statutory damages award of up to $150,000, this reduction is very significant.

           Similarly, in UMG Recordings, Inc. v. MP3.com, Inc., the defendant successfully

    challenged more than half of the 4,700 copyrights claimed by UMG, thereby reducing

    potential liability by $65,000,000. Compare No. 00 Civ. 472, 2000 WL 1262568, at *6

    (S.D.N.Y. Sept. 6, 2000) (noting at least 4,700 copyrights claimed and setting statutory

    damages at $25,000 per work) with 2000 U.S. Dist. LEXIS 17907 at *1 (S.D.N.Y. Nov.

    14, 2000) (awarding damages for only 2,136 works). The fact that record companies

    such as Plaintiffs claim to be the rightful owners does not mean they always properly

    secure those rights, and the production of information sufficient to meet a prima facie

    showing does not relieve Plaintiffs’ burden of proof. See also BMG Rights Mgmt. (US)

    LLC v. Cox Commc’ns, Inc., 149 F. Supp. 3d 634, 649–50 (E.D. Va. 2015), aff’d in part,

    rev’d in part, 881 F.3d 293 (4th Cir. 2018) (dismissing infringement claims on summary

    judgment because claimant on copyright registration was not co-owner or exclusive

    licensee).

           BHN is entitled to the full scope of discovery on ownership and validity of the

    copyrights at issue, including relevant work-for-hire agreements, and information

    regarding ownership and validity disputes. BHN’s Motion should be granted.


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                     CERTIFICATE OF GOOD FAITH CONFERENCE

           Pursuant to Local Rule 3.01(g), I hereby certify that counsel for the movant has

    conferred with all parties or non-parties who may be affected by the relief sought in this

    motion in a good faith effort to resolve the issues but has been unable to do so.

    Dated: October 23, 2019                       Respectfully submitted,
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                                          LLC

                                 CERTIFICATE OF SERVICE
           I certify that on October 23, 2019, a true and correct copy of the foregoing was

    filed with the Court via CM/ECF which will send a notice of electronic filing to the

    parties of record.

                                          s/ William Schifino, Jr.
                                          William Schifino, Jr.

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